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JUUL LABS, INC.

                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


 JUUL LABS, INC.,                                     Civil Action No. 19-8405 (JMV) (MF)

                          Plaintiff,


 v.                                                    NOTICE OF JUUL LABS, INC,’S
                                                       UNOPPOSED MOTION TO SEAL
 EONSMOKE, LLC,
 ZLAB S.A.,
 ZIIP LAB CO., LTD.,                                       Document Filed Electronically
 SHENZHEN YIBO TECHNOLOGY CO.,
 LTD., and
 JOHN DOES 1-50,                                           Return Date: May 20, 2019

                          Defendants.
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       and Shenzhen Yibo Technology Co., Ltd.

       PLEASE TAKE NOTICE that on Monday, May 20, 2019, at 10:00 a.m. or as soon

thereafter as counsel may be heard, Plaintiff Juul Labs, Inc. (“Juul Labs”) shall appear before the

Honorable Mark Falk, U.S.M.J., at the Martin Luther King, Jr. Federal Building and Courthouse,

50 Walnut Street, Newark, New Jersey 07102, and shall move this Court, pursuant to Local Civil

Rule 5.3(c), for an Order permanently sealing portions of the following materials, which were

filed under temporary seal:

      Declaration of Timothy Danaher (ECF No. 11);

      Exhibit 1 to the Declaration of Timothy Danaher (ECF No. 11-1);

      Declaration of Michael Walter (ECF No. 11-2);

      Exhibit 1 to the Declaration of Michael Walter (ECF No. 11-3); and

                                                 2
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        Exhibit 2 to the Declaration of Michael Walter (ECF No. 11-4).1

         PLEASE TAKE FURTHER NOTICE that in support of its Motion, Juul Labs shall

rely upon the Declaration of Kevin Cooke and the accompanying index found at Exhibit 1. A

proposed form of Order, including Proposed Findings of Fact and Conclusions of Law, is also

submitted for the Court’s consideration.

         PLEASE TAKE FURTHER NOTICE that Defendants do not oppose the relief

requested by Juul Labs and instead consent to the same.

Dated: April 24, 2019                            Respectfully submitted,

                                                 SAIBER LLC


                                                 By: /s/ Arnold B. Calmann
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                                                     Attorneys for Plaintiff
                                                     JUUL LABS, INC.




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    The redacted versions of the foregoing documents have been filed at ECF No. 12.

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